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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA F I L

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UNITED STATES OF AMERICA, AUG 1 8 2023
Mark C. McCarti Cleri
Plaintiff, U.S. DISTRICT GOURT
v. Case No. 23-CR-235-GKF-1
FILED UNDER SEAL
ARTHUR EDWARD SUAREZ,
Defendant.

Petition for Writ of Habeas Corpus Ad Prosequendum

COMES NOW Joel-lyn A. McCormick, Assistant United States Attorney for the
Northern District of Oklahoma and represents to this Honorable Court that there is
now pending in this Court a certain case in which the United States of America is
plaintiff and in which Arthur Edward Suarez, is defendant, and that the case is set
for initial appearance at Tulsa, Oklahoma.

Plaintiff further states that it is necessary to have Arthur Edward Suarez, present
at Tulsa, Oklahoma, forthwith and for the duration of this case.

That Arthur Edward Suarez, at this time is a prisoner in the Wagoner County Jail
in Wagoner, Oklahoma and will not have been released on the date that is
scheduled, and that Arthur Edward Suarez, is in the charge, custody, and under the
control of the Sheriff of Wagoner County Jail in Wagoner, Oklahoma.

WHEREFORE, plaintiff prays that a Writ of Habeas Corpus Ad Prosequendum

be issued by this Honorable Court to the Sheriff of said institution, and that he be
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directed and required to deliver the body of Arthur Edward Suarez, to the United
States Marshal for the Northern District of Oklahoma, or a Deputy Marshal, or to
any federal law enforcement agent, and that the Marshal, deputy, or agent shall
produce and bring the body of Arthur Edward Suarez, before this Court in Tulsa,
Oklahoma, forthwith, and that upon completion of this case, the Marshal, deputy, or
agent shall return the body of Arthur Edward Suarez, to the aforesaid Wagoner
County Jail, Wagoner, Oklahoma.

Respectfully submitted,

CLINTON J. JOHNSON

United States Attorney

/s/ Joel-lyn_A. McCormick

Joel-lyn A. McCormick OBA No. 18240
Assistant United States Attorney

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STATE OF OKLAHOMA )
) ss.
COUNTY OF TULSA )

Joel-lyn A. McCormick, Assistant United States Attorney for the Northern
District of Oklahoma, being first duly sworn, and having read the above and
foregoing Petition for Writ of Habeas Corpus Ad Prosequendum, states that the facts

contained therein are true and correct to the best of my knowledge and belief.

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t Untied States Attorney

Subsctibed: andeSyorn to before me this oh day of (us. AQ.

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Notary Publi(?

My commission expires:

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